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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              WICHITA FALLS DIVISION


 FRANCISCAN ALLIANCE, INC., et al.,


                           Plaintiffs,
                  v.
                                                              Civil Action No. 7:16-cv-00108-O
 SYLVIA BURWELL, Secretary of the United States
 Department of Health and Human Services, et al.,

                          Defendants.



                               NOTICE OF APPEARANCE

To:    The clerk of court and all parties of record

       I am admitted to practice in this court, and I appear in this case as counsel for

Proposed Intervenors/Amici River City Gender Alliance and American Civil Liberties

Union of Texas.

       Respectfully submitted this 23rd day of November, 2016.



                                              /s/Joshua Block                        g
                                              JOSHUA BLOCK
                                              (New York Bar No. 4370573)
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                                               UNION FOUNDATION
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                                              Counsel for Proposed Intervenors/Amici
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                             CERTIFICATE OF SERVICE


       On November 23, 2016, I electronically submitted the foregoing NOTICE OF

APPEARANCE to the clerk of the court for the U.S. District Court, Northern District of

Texas, using the electronic case filing system of the Court. I hereby certify that I have

served counsel of record for all parties through the Court’s ECF system.




                                                                /s/Josh Block               g
                                                                JOSH BLOCK
